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Attorneys for Plaintiff
Alarm Grid, Inc.

                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY



ALARM GRID INC.

                          Plaintiff,
                                                           Case No.:
                v.

JEFFERSON AUTO REPAIR, LLC,


                          Defendant.



                                 COMPLAINT AND JURY DEMAND

         The plaintiff Alarm Grid Inc., (“Plaintiff”), by its undersigned attorneys, Rath,

 Young and Pignatelli, PC, for its complaint against the defendant Jefferson Auto

 Repair, LLC (“Defendant”) alleges as follows:

                                       SUBSTANCE OF THE ACTION

         1.      This is a case of willful copyright infringement in violation of 17 U.S.C.

 §§ 106(1) and 501.

          2.    Plaintiff seeks compensatory and statutory damages in an amount to be

 established at trial.
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                                              PARTIES

        3.        Plaintiff is a limited liability company with a principal place of business at

5360 North Federal Highway, Suit D, Lighthouse Point, Florida, 22064.

        4.        Upon information and belief, Defendant is a corporation duly organized and

existing under the laws of New Jersey, with a principal place of business at 699 Washington

Street, Suite 203, Hackettstown, New Jersey 07840.

                                JURISDICTION AND VENUE

         5.       This is a civil action seeking damages and injunctive relief for copyright

 infringement under the copyright laws of the United States, and therefore this Court has

 jurisdiction under 17 U.S.C. § 101 et seq.; 28 U.S.C. § 1331 (federal question jurisdiction),

 and 28 U.S.C. § 1338 (a) (jurisdiction over copyright actions).

         6.       Personal jurisdiction over Defendant is proper. Defendant is conducting

 business in this judicial district and committing torts in this state, including without limitation

 Defendant’s copyright infringement, which causes harm in this state and judicial district.

         7.       Pursuant to 28 U.S.C. § 1391, venue properly lies in this Court because a

 substantial part of the events giving rise to the claims herein occurred in this judicial

 district.

                       FACTS COMMON TO ALL CLAIMS FOR RELIEF

 A.      Plaintiff’s Business

             8.   Plaintiff is owner to the photographic image at issue in this litigation, a copy of

which is attached hereto as Exhibit A (the “Copyrighted Work”).

         9.       The Copyrighted Work is an original work of authorship created by

 Plaintiff.


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          10.    On November 6, 2014, Plaintiff obtained a registration with the United States

 Copyrighted Office for the Copyright Work. Attached hereto as Exhibit B is a copy of the

 certificate for registration obtained from the United States Copyright Office.

 B.       Defendant’s Unlawful Activities

         11.     Plaintiff has discovered Defendant infringing Plaintiff’s exclusive copyrights

in the Copyright Work.

         12.     Specifically, Plaintiff discovered the Copyright Work being reproduced,

distributed, derivative works created from and publicly displayed, without Plaintiff’s

authorization, at the website http://jeffersonautonj.com (the “Infringing Website”), screenshots

of which are attached hereto as Exhibit C.

                                FIRST CLAIM FOR RELIEF
                            DIRECT COPYRIGHT INFRINGEMENT
                                  (17 U.S.C. § 101 et seq.)

          13.    Plaintiff realleges paragraphs 1 through 12 above and incorporates them

 by reference as if fully set forth herein.

          14.    The Copyright Work is an original work of authorship, embodying

 copyrightable subject matter, subject to the full protection of the United States copyright

 laws.

          15.    As exclusive licensee, Plaintiff has sufficient rights, title and interest in and

 to the copyrights in the Copyrighted Work to bring suit.

          16.    Upon information and belief, as a result of Defendant’s reproduction,

 distribution and public display of the Copyright Work, Defendant had access to the

 Copyright Work prior to the creation of Defendant’s Infringing Website.




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       17.       By their actions, as alleged above, Defendant has infringed and violated

Plaintiff’s exclusive rights in violation of the Copyright Act, 17 U.S.C. §501, by

reproducing, distributing and publicly displaying the Infringing Work.

       18.       Upon information and belief, Defendant’s infringement of Plaintiff’s copyrights

is willful and deliberate and Defendant has profited at the expense of Plaintiff.

       19.       As a direct and proximate result of Defendant’s infringement of Plaintiff’s

copyrights and exclusive rights in the Copyright Work, Plaintiff is entitled to recover its actual

damages resulting from Defendant’s uses of the Copyright Work without paying license fees,

in an amount to be proven at trial.

       20.       In addition, at Plaintiff’s election, pursuant to 17 U.S.C. § 504(b), Plaintiff shall

be entitled to recover damages based on a disgorgement of Defendant’s profits from

infringement of the Copyright Work, which amounts will be proven at trial.

       21.       In the alternative, and at Plaintiff’s election, Plaintiff is entitled to maximum

statutory damages, pursuant to 17 U.S.C. § 504(c), in the amount of $150,000 with respect to

the infringing reproduction, distribution, and public display of the Copyright Work, or such

other amounts as may be proper under 17 U.S.C. § 504(c).

       22.       Plaintiff is entitled to its costs, including reasonable attorneys’ fees, pursuant

to 17 U.S.C. § 505.

       23.       Defendant’s conduct has caused and any continued infringing conduct will

continue to cause irreparable injury to Plaintiff unless enjoined by this Court. Plaintiff has

no adequate remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a

permanent injunction prohibiting infringement of Plaintiff’s exclusive rights under

copyright law.


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                                SECOND CLAIM FOR RELIEF
                             (Contributory Copyright Infringement)

        24.     Plaintiff realleges the above paragraphs and incorporates them by reference as if

fully set forth herein.

        25.     As an alternative theory to its direct infringement claim, in the event Defendant

contends the infringing conduct described above is done by another, Defendant had either

actual or constructive knowledge of the above-described infringements and either induced,

caused or materially contributed to the infringing conduct described above.

        26.     Defendant’s foregoing acts of contributory infringement violates Plaintiff’s

exclusive rights in violation of the Copyright Act, 17 U.S.C. §501.

        27.     Upon information and belief, the foregoing acts of contributory infringement by

Defendant of Plaintiff’s copyrights are willful and deliberate and Defendant has profited at the

expense of Plaintiff.

        28.     As a direct and proximate result of the contributory infringement of Plaintiff’s

exclusive copyrights in the Copyrighted Work, Plaintiff is entitled to recover its actual damages

resulting from Defendant’s uses of the Copyrighted Work without paying license fees, in an

amount to be proven at trial.

        29.     In addition, at Plaintiff’s election, pursuant to 17 U.S.C. § 504(b), Plaintiff shall

be entitled to recover damages based on a disgorgement of Defendant’s profits from

infringement of the Copyrighted Work, which amounts will be proven at trial.

        30.     In the alternative, and at Plaintiff’s election, Plaintiff is entitled to maximum

statutory damages, pursuant to 17 U.S.C. § 504(c), in the amount of $150,000 with respect to

the infringing reproduction, distribution, and public display of the Copyrighted Work, or such

other amounts as may be proper under 17 U.S.C. § 504(c).

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         31.      Plaintiff is entitled to its costs, including reasonable attorneys’ fees, pursuant to

 17 U.S.C. § 505.

         32.      Defendant’s conduct has caused and any continued infringing conduct will

 continue to cause irreparable injury to Plaintiff unless enjoined by this Court. Plaintiff has no

 adequate remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a permanent

 injunction prohibiting the contributory infringement of Plaintiff’s exclusive rights under

 copyright law.

                               THIRD CLAIM FOR RELIEF
                             (Vicarious Copyright Infringement)

        33.       Plaintiff realleges the above paragraphs and incorporates them by reference as if

fully set forth herein.

        34.       As an alternative theory to its infringement claims above, to the extent

Defendant contends it did not directly infringe nor contributorily infringe Plaintiff’s copyright,

Defendant had the right or ability to control the direct infringement described above.

        35.       As a result of Defendant’s right or ability to supervise the direct infringement

described above, Defendant could have prevented or stopped the direct infringement but did not

take any action to do so.

        36.       Defendant had a direct financial interest in the reproduction, distribution and

public display of the Copyrighted Work and Defendant benefitted from that direct infringement.

        37.       As a direct and proximate result of Defendant’s vicarious infringement of

Plaintiff’s copyright and exclusive rights in the Copyrighted Work, Plaintiff is entitled to recover

its actual damages resulting from the Defendant’s uses of the Copyrighted Work without paying

license fees, in an amount to be proven at trial.



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       38.       In addition, at Plaintiff’s election, pursuant to 17 U.S.C. § 504(b), Plaintiff shall

be entitled to recover damages based on a disgorgement of Defendant’s profits from

infringement of the Copyrighted Work, which amounts will be proven at trial.

       39.       In the alternative, and at Plaintiff’s election, Plaintiff is entitled to maximum

statutory damages, pursuant to 17 U.S.C. § 504(c), in the amount of $150,000 with respect to the

infringing reproduction, distribution, and public display of the Copyrighted Work, or such other

amounts as may be proper under 17 U.S.C. § 504(c).

       40.       Plaintiff is entitled to its costs, including reasonable attorneys’ fees, pursuant to

17 U.S.C. § 505.

       41.       The Defendant’s conduct has caused and any continued infringing conduct will

continue to cause irreparable injury to Plaintiff unless enjoined by this Court. Plaintiff has no

adequate remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a permanent

injunction prohibiting vicarious infringement of Plaintiff’s exclusive rights under copyright law.


                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands judgment as follows:

        1.     A declaration that Defendant has infringed Plaintiff’s copyrights under the

Copyright Act;

        2.     A declaration that such infringement is willful;

        3.     An accounting of all revenue earned by Defendant during the period in which it

reproduced, distributed or displayed the Copyrighted Work, or any portion or derivation of the

Copyrighted Work;

        4.     Awarding Plaintiff all gains, profits, property and advantages obtained or derived

by Defendant from their acts of copyright infringement or, in lieu thereof, should Plaintiff so

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elect, such statutory damages as the Court shall deem proper, as provided in 17 U.S.C. §§ 504(c),

including damages for willful infringement of up to $150,000 for each instance of copyright

infringement;

        5.      Awarding Plaintiff such exemplary and punitive damages as the Court finds

appropriate to deter any future infringement;

        6.      Awarding Plaintiff its costs and disbursements incurred in this action, including

its reasonable attorneys’ fees, as provided in 17 U.S.C. § 505; and,

        7.      For such other and further relief as the Court may deem just and proper.



                                        JURY DEMAND
       Plaintiff hereby demands a trial by jury pursuant to Rule 38 of the Federal Rules of Civil
Procedure.


 Dated: September 26, 2019
                                      Respectfully submitted,

                                      RATH, YOUNG and PIGNATELLI, P.C.

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